                                       Case 3:17-cr-00093-WHA Document 669 Filed 05/31/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                   8

                                   9

                                  10   UNITED STATES OF AMERICA,
                                  11                  Plaintiff,                            No. CR 17-00093 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   BURTE GUCCI RHODES,                                  CLARIFICATION ORDER
                                  14                  Defendant.

                                  15

                                  16        With respect to the four instances disclosed in the letter dated November 22, 2021, which

                                  17   the government sent to the defendant regarding Craig Marshall, the final pretrial order allowed

                                  18   the first to be used for cross-examination under Rule 608, but not the latter three.

                                  19        That ruling was under Rule 608. It has subsequently occurred to the Court that the

                                  20   examination before the jury of witness Marshall may open the door to the use of one or more

                                  21   of the latter three, or that there may be some rule other than Rule 608 that may permit

                                  22   admissibility. We will have to await these examinations before making such a determination.

                                  23

                                  24        IT IS SO ORDERED.

                                  25   Dated: May 31, 2022.

                                  26
                                  27
                                                                                               WILLIAM ALSUP
                                  28                                                           UNITED STATES DISTRICT JUDGE
